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                             UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA ex rel.
PASCALE L. SNODGRASS,                              Case No. 1:16-cv-00490-DVB
               Plaintiffs,

v.

SAINT ALPHONSUS REGIONAL
MEDICAL CENTER, INC. and TRINITY
HEALTH CORPORATION,

               Defendants.


                         ORDER ON DISMISSAL AND UNSEALING

       The Court has considered both the United States’ Notice of Intervention for Purposes of

Settlement and the United States, Relator Pascale L. Snodgrass, and Defendants Saint Alphonsus

Regional Medical Center, Inc. and Trinity Health Corporation’s Joint Stipulation of Dismissal

pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii). The Court orders as follows:

       ORDERED that this action is dismissed: (a) with prejudice as to the Covered Conduct

defined in the settlement agreement; (b) with prejudice as to Relator’s retaliation claim; and (c)

without prejudice as to any other claims.

       ORDERED that the following documents in this action are unsealed: the Complaint, the

United States’ Notice of Election to Intervene for Purposes of Settlement; the parties’ Joint

Stipulation of Dismissal; and this Order on Dismissal and Unsealing.

       ORDERED that all other contents of the Court's file in this matter (including, but not

limited to, any applications filed by the United States for an extension of the sixty-day



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investigative period or for any other reason, memoranda, and supporting documents) shall

remain under seal and shall not be made public.

         ORDERED that, except as provided in the settlement agreement, each party shall bear its

own costs and attorney fees.

         ORDERED the seal in this action is lifted as to all matters occurring after the date of this

Order.

         SO ORDERED. November 28th, 2017.



                                                               Judge Dee Benson



                                                               United States District Judge


                                        Submitted By:



                                               BART M. DAVIS
                                               UNITED STATES ATTORNEY
                                               By:

                                               /s/ James P. Schaefer
                                               JAMES P. SCHAEFER
                                               Assistant United States Attorney




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